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14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17
                                                          Case No. 3:21-md-02981-JD
18   IN RE GOOGLE PLAY STORE
     ANTITRUST LITIGATION
19
                                                          NOTICE OF CHANGE OF ADDRESS
20   THIS DOCUMENT RELATES TO:

21   Epic Games, Inc. v. Google LLC et al.,
     Case No. 3:20-cv-05671-JD
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                                      NOTICE OF CHANGE OF ADDRESS
                                  Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
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 1                  PLEASE TAKE NOTICE that as of May 1, 2024, Cravath, Swaine & Moore LLP has

 2   relocated its New York office to the following address:

 3
                           Cravath, Swaine & Moore LLP
 4                         2 Manhattan West
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 6
            The firm’s telephone, fax numbers and email addresses remain unchanged. Please direct any
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     hard copy service to us at the new address.
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            Case 3:20-cv-05671-JD Document 660 Filed 05/03/24 Page 3 of 3



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     Dated: May 3, 2024
 2                                     Respectfully submitted,
 3

 4                                        By:         /s/ Gary A. Bornstein
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